UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

JANE DOE 1, Individually and on
Behalf of All Others Similarly 22-cv-10018 (JSR)
Situated,

 

Plaintiff,

DEUTSCHE BANK AKTIENGESELLSCHAFT,
DEUTSCHE BANK AG NEW YORK BRANCH,
DEUTSCHE BANK TRUST COMPANY
AMERICAS,

 

Defendants.

 

 

JANE DOF 1, Individually and on
Behalf of All Others Similarly 22-cv-10019 (JSR)
Situated,

Plaintiff,

 

JP MORGAN CHASE BANK, N.A.,

Defendant.

 

 

 

GOVERNMENT OF THE UNITED STATES 22-cv-10904 (JSR)
VIRGIN ISLANDS,

ORDER
Plaintiff,

 

JP MORGAN CHASE BANK, N.A.,

Defendant.

 

 

 

 

 
JED S. RAKOFF, U.S.D.J.:

On February 1, 2023, and February 7, 2023, defendants filed
motions to dismiss the operative complaints in the above-captioned
cases. Upon consideration of all parties’ written submissions and oral
argument, the Court hereby grants those motions in part and denies
those motions in part, as specified below.

With respect to Jane Doe v. Deutsche Bank Aktiengeselilschaft et

 

al., 22-cv-10018, the Court hereby grants defendants’ motion to dismiss
with respect to Counts II, III, IV, V, VII, VIII, IX, and X of the
First Amended Complaint. The Court hereby denies defendants’ motion
with respect to Counts I, VI, XI, and XII of the First Amended
Complaint. Thus, for clarity, the following claims asserted by
plaintiff Jane Doe against defendants Deutsche Bank
Aktiengesellschaft, Deutsche Bank AG New York Branch, and Deutsche
Bank Trust Company Americas remain as part of the case: (1) the claim
that defendants knowingly benefited from participating in a sex-
trafficking venture, in violation of 18 U.S.C. § 1591(a) (2); (2) the
claim that defendants obstructed enforcement of the Trafficking
Victims Protection Act, in violation of 18 U.S.C. § 1591 (d); (3) the
claim that defendants negligently failed to exercise reasonable care
to prevent physical harm; and (4) the claim that defendants negligently
failed to exercise reasonable care as a banking institution providing

non-routine banking. All other claims are dismissed.

With respect to Jane Doe v. JP Morgan Chase Bank, N.A., 22-cv-

 

10019, the Court hereby grants defendant’s motion to dismiss with

 

 

 

 

 

 
respect to Counts I, II, VI, VII, VIII, and IX of the First Amended
Complaint. The Court hereby denies defendant’s motion with respect to
Counts III, IV, V, and X of the First Amended Complaint. Thus, for
clarity, the following claims asserted by plaintiff Jane Doe against
defendant J.P. Morgan Chase Bank, N.A. remain as part of the case: (1)
the claim that defendant negligently failed to exercise reasonable
care to prevent physical harm; (2) the claim that defendant negligently
failed to exercise reasonable care as a banking institution providing
non-routine banking; (3) the claim that defendant knowingly benefited
from participating in a sex-trafficking venture, in violation of 18
U.S.C. § 1591(a) (2); and (4) the claim that defendant obstructed
enforcement of the Trafficking Victims Protection Act, in violation
of 18 U.S.C. § 1591(d). All other claims are dismissed.

With respect to Government of the United States Virgin Islands

 

v. JP Morgan Chase Bank, N.A., 22-cv-10904, the Court hereby grants

 

defendant’s motion to dismiss with respect to Counts II, III, and IV
of the First Amended Complaint. The Court hereby denies defendant’s
motion with respect to Count I of the First Amended Complaint. Thus,
for clarity, the claim of plaintiff the Government of the United States
Virgin Islands that defendant JP Morgan Chase Bank, N.A. knowingly
benefited from participating in a sex-trafficking venture, in
violation of 18 U.S.c. § 1591(a) (2), remains as part of the case. All
other claims are dismissed.

An opinion explaining the reasons for these rulings will follow

in due course.
The Clerk is respectfully directed to close entry numbers 37 and
43 on the docket of 22-cv-10018; numbers 31 and 44 on the docket of

22-cv-10019; and number 38 on the docket of 22-cv-10904.

 

SO ORDERED.
New York, NY SIA if
March <@, 2022 JED G. RAKOFF,AS.D.J.

 

 

 

 
